Case 2:20-cv-06570-PSG-MRW Document10 Filed 11/06/20 Page1of1 Page ID #:110

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-6570 PSG (MRW) Date November 6, 2020

 

Title Nunez v. United States

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Petitioner: Attorneys Present for Respondent:
None present None present
Proceedings: ORDER TO SHOW CAUSE RE: DISMISSAL
1. The government moved to dismiss Petitioner’s habeas corpus action on a variety

of procedural and substantive grounds. (Docket # 7.) The Court separately ordered Petitioner to
respond to the dismissal motion by early October 2020. (Docket # 9.) However, to date, he has
failed to do so.

2. The Court could rightly dismiss the action based on Petitioner’s failure to oppose
the motion (Local Rule 7-12) and for failure to prosecute the action (Fed. R. Civ. P. 41).
However, in the interests of justice and in fairness to an incarcerated litigant, the Court will give
Petitioner a final opportunity to respond to the motion.

3. Therefore, Petitioner is ordered to show cause why the action should not be
summarily dismissed. Petitioner may respond to the OSC by submitting (a) his opposition to the
dismissal motion and (b) an explanation for his failure to advance the case. Petitioner’s papers

will be due by December 14. No extensions will be granted except for demonstrated good
cause.

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 1 of 1
